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a SCOOBEEZ

September 20, 2018

VIA EMAIL ONLY

Ross McLinden

General Counsel

175 North 27th Street
Billings, Montana 59101
(406) 690-0257
rmclinden@avitusgroup.com

RE: Fund Withdrawals
Dear Mr. McLinden:

We are writing to inform you that, effective immediately, Avitus Group, Inc. is not
authorized to withdraw or debit any funds (via ACH Withdrawal or any other means) from any
account held by Scoobeez, a California corporation (also known as Scoobeez, Inc.) or Scoobeez
Global, Inc., an Idaho corporation, at any financial institution. Please inform your Finance
Department regarding the withdrawal of this authorization. While no further action is required
on your part to effectuate the above, at your earliest convenience, please reply to this letter
confirming receipt and your intent to comply.

We appreciate your attention to this matter and look forward to a reply at your earliest

convenience, Should you have any questions, please do not hesitate to contact me at (844)
Scoobeez x1190.

Warmest Regards,

Jee G bruh.

Scott A. Sheikh, Esq.
General Counsel

EXHIBIT

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396 Pasadena Ave., Pasadena, CA 91105 + 844-Scoobeez * www.scoobeez.com
